                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 REBECCA CASTILLO, an individual,              )      Case No. 1:17-cv-09358
                                               )
        Plaintiff,                             )
                                               )
 vs.                                           )
                                               )      Trial by Jury Demanded
 DICK BLICK HOLDINGS, INC.                     )
                                               )
        Defendant.                             )
                                               )
                                               )

                   COMPLAINT FOR INJUNCTIVE RELIEF,
         CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF

       Plaintiff, REBECCA CASTILLO, (“Plaintiff”), by and through her attorneys, for her

complaint against DICK BLICK HOLDINGS, INC., states as follows:

                                      INTRODUCTION

       1.      Plaintiff is a blind and visually-impaired person who requires screen-reading

software to read website content using her personal computer.

       2.      Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with

visual impairments who meet the legal definition of blindness in that they have a visual acuity

with correction of less than or equal to 20 x 200. Some blind people who meet this definition

have limited vision. Others have no vision.

       3.      Plaintiff brings this civil rights action against DICK BLICK HOLDINGS, INC.

(“Defendant”) for its failure to design, construct, maintain, and operate its website,

Dickblick.com (the “website” or “Defendant’s website”) to be fully accessible to and

independently usable by Plaintiff and other blind or visually-impaired people.

       4.      Defendant’s denial of full and equal access to its website, and therefore denial of
its products and services offered thereby, is a violation of Plaintiff’s rights under the Americans

with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).

       5.      Because Defendant’s website, Dickblick.com is not fully and equally accessible to

blind and visually-impaired consumers in violation of the ADA, Plaintiff seeks a permanent

injunction to cause a change in Defendant’s corporate policies, practices, and procedures so that

Defendant’s website will become and remain accessible to blind and visually-impaired

consumers, including Plaintiff.

                                  JURISDICTION AND VENUE

       6.      This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181, et seq., and 28 U.S.C. § 1332.

       7.      This court has supplemental jurisdiction over Plaintiff’s non-federal claims

pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so related to Plaintiff’s

federal ADA claims, they form part of the same case or controversy under Article III of the

United States Constitution.

       8.      This Court has personal jurisdiction over Defendant because it conducts and

continues to conduct a substantial and significant amount of business in the State of Illinois.

       9.      Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C.

§1391(b)(1) because Defendant operates multiple retail properties in this District and this Court

has personal jurisdiction over Defendant.

                                            PARTIES

       10.     Plaintiff, at all times relevant and as alleged herein, is a resident of California,

County of Los Angeles. Plaintiff is also blind, visually-impaired, handicapped person, and a
member of a protected class of individuals under the ADA, pursuant to 42 U.S.C. § 12102(1)-(2),

and the regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.

       11.      Plaintiff is informed and believes, and thereon alleges Defendant operates a

website that allows consumers to browse the various craft products and accessories sold in its

retail stores and via the website. Defendant's headquarters are located in Highland Park, Illinois.

       12.      Dickblick.com offers the ability to view product descriptions and sale

information, special offers, locate a preferred store, register, sign in, shop, and many other

benefits related to Defendant's goods and services.

       13.      Defendant’s website is a public accommodation within the definition of Title III

of the ADA, 42 U.S.C. § 12181(7) because its website is, or is part of, a “sales or rental

establishment,” and a “service establishment.”

       14.      Defendant has been and is committing the acts or omissions alleged herein in Los

Angeles County of the State of California which caused injury, and violated rights prescribed by

the ADA and UCRA, to Plaintiff and to other blind and other visually impaired-consumers. A

substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred in California.

Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment

of the facilities, goods, and services of Defendant’s website while in Los Angeles County.

         15.     The access barriers Plaintiff encountered on Defendant’s website have caused a

denial of Plaintiff’s independent, full and equal access multiple times in the past, and now deter

                 Plaintiff on a regular basis from accessing Defendant’s website.

               THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET

       16.      The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,
researching, as well as many other activities for sighted, blind and visually-impaired persons

alike. As an essential tool for many Americans, when accessible, the Internet provides

individuals with disabilities great independence.

       17.     Blind persons are able to access websites using keyboards in conjunction with

screen access software that vocalizes the visual information found on a computer or smart-phone

screen. This technology is known as screen-reading software and is also commonly referred to

as a screen reader.

       18.     Except for legally blind individuals whose residual vision allows them to use

magnification, screen-reading software is currently the only method a blind person can fully and

independently access the internet.

       19.     Unless websites are designed to allow screen-reading software users to navigate

Internet content by way of the keyboard or through moving their fingers over the smartphone

screen, blind and visually-impaired persons are unable to fully, equally and independently access

websites and the information, products, and services contained therein.

       20.     Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen-reading software programs available to them. Some

of these programs are available for purchase and other programs are available without the user

having to purchase the program separately.

       21.      Job Access With Speech, otherwise known as “JAWS,” is currently the most

popular, separately purchased and downloaded screen-reading software program available for a

Windows computer.

       22.     For screen-reading software to function, the information on a website must be

capable of being rendered into meaningful text so it may be read back to the user and then the
user can navigate a website and various web pages within a website using their keyboard.

        23.        If the website content is not capable of being rendered into meaningful text, the

blind or visually-impaired user is not able to access and navigate the same content on a website

that is available to sighted users.

        24.        The ADA specifically provides, “No individual shall be discriminated against on

the basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of any place of public accommodation by any person who owns,

leases (or leases to) or operates a place of public accommodation.” 42 U.S.C. §12182(a); 28

C.F.R. §36.201(a). The ADA further requires that a public accommodation provide accessible

electronic and information technology as auxiliary aids and services. See 28 C.F.R. §36.303(a),

(b) and (c)(ii).

        25.        Within this context, numerous federal courts have recognized the viability of

ADA claims against commercial website owners/operators with regard to the accessibility of

such websites. See, e.g., Gorecki v. Dave & Buster’s, Inc., No. 2:17-cv-01138-PSG-AGR (C.D.

Cal. October 10, 2017) (Gutierrez, P.) (denying a motion for summary judgment sought against

ADA and California’s Unruh Civil Rights Act claims)(“a finding of liability regarding the

Website’s compliance with the ADA does not require sophisticated technical expertise beyond

the ability of the Court”); Kayla Reed v. CVS Pharmacy, Inc., Case No. 2:17-cv-03877-MWF-

SK, at *9. (C.D.C.A. Oct. 3, 2017) (Fitzgerald) (denying a motion to dismiss sought against

ADA and California’s Unruh Civil Rights Act claims) (“The DOJ’s position that the ADA

applies to websites being clear, it is no matter that the ADA and the DOJ fail to describe exactly

how any given website must be made accessible to people with visual impairments. Indeed, this

is often the case with the ADA’s requirements, because the ADA and its implementing
regulations are intended to give public accommodations maximum flexibility in meeting the

statute’s requirements. This flexibility is a feature, not a bug, and certainly not a violation of due

process."); Andrews v. Blick Art Materials, LLC, -- F. Supp. 3d --, 2017 WL 3278898, at *12,

*15-*18 (E.D.N.Y. Aug. 1, 2017) (Weinstein, J.); Gomez v. Lego Systems, Inc., Case 1:17-cv-

21628-CMA (S.D. Fla. July 31, 2017) (denying a motion to dismiss an ADA claim alleging an

inaccessible commercial website) [ECF #40]; Thurston v. Chino Commercial Bank, N.A., No.

CV 17-01078 BRO (JCx), 2017 WL 3224681, at *5 (C.D. Cal. July 27, 2017) (citing Gorecki);

Markett v. Five Guys Enterprises LLC, No. 1:17-cv-00788-KBF, slip op. at 4-6 [ECF #33]

(S.D.N.Y. July 21, 2017); Gorecki v. Hobby Lobby Stores, Inc., No. 2:17-cv-01131-JFW-SK,

2017 WL 2957736 (C.D. Cal. June 15, 2017) (Walter, J.) (denying a motion to dismiss sought

against ADA and California’s Unruh Civil Rights Act claims) (“[T]his is a relatively

straightforward claim that Hobby Lobby failed to provide disabled individuals full and equal

enjoyment of goods and services . . . by not maintaining a fully accessible website. There is

nothing unique about this case, as federal courts have resolved effective communication claims

under the ADA in a wide variety of contexts-- including cases involving allegations of unequal

access to goods, benefits and services provided through websites.”); Gil v. Winn-Dixie Stores,

Inc., No. 16-23020-Civ-Scola, -- F. Supp. 3d --, 2017 WL 2547242, at *7 (S.D. Fla. June 13,

2017) (finding that the defendant, a large supermarket chain, had violated the plaintiff’s rights

under the ADA by failing to maintain an accessible website after a non-jury trial); Frazier v.

Ameriserv Financial Bank, Nos. 2:16-cv-01898-AJS (Lead Case), 17cv0031 [ECF #107], slip

op. at 20 (W.D. Pa. Apr. 21, 2017) (denying a motion to dismiss an ADA claim alleging an

inaccessible commercial website); Frazier v. Churchill Downs Inc., Nos. 2:16-cv-01898-AJS

(Lead Case), 2:16-cv-0007 (Member Case) [ECF #107] slip op. at 20 (W.D. Pa. Apr. 21, 2017)
(same); OmahaSteaks.com, Inc. v. Access Now, Inc., et al., No. 8:17-cv-00060-LSC-CRZ [ECF

#9-1] (D. Neb. Apr. 17, 2017) (consent decree); Access Now, Inc., et al. v. Omahasteaks.com,

Inc., Nos. 2:16-cv-01898-AJS (Lead Case), 2:17-cv-00269-AJS (Member Case) [ECF #99]

(W.D. Pa. Apr. 11, 2017 (same); Gil v. Winn-Dixie Stores, Inc., -- F. Supp. 3d --, No. 16-23020-

Civ-Scola, 2017 WL 2609330 (S.D. Fla. Mar. 15, 2017) (denying a motion for judgment on the

pleadings sought against an ADA claim alleging an inaccessible commercial website); Nat’l

Ass’n of the Deaf v. Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 3561622, at *12-*20

(D. Mass. Feb. 9, 2016) (Robertson, Mag. J.) (recommending the denial of a motion to dismiss or

stay predicated on the primary jurisdiction doctrine), adopted in Nat’l Ass’n of the Deaf v.

Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 6540446, at *1-*3 (D. Mass. Nov. 3,

2016) (Mastroianni, J.); Nat’l Ass’n of the Deaf v. Massachusetts Inst. of Tech., Case 3:15- cv-

30024-MGM, 2016 WL 3561631, at *1 (D. Mass. Feb. 9, 2016) (Robertson, Mag.

J.)(recommending the denial of a motion to dismiss or stay predicated on the primary jurisdiction

doctrine), adopted in Nat’l Ass’n of the Deaf v. Massachusetts Inst. of Tech., Case 3:15-cv-

30024-MGM, 2016 WL 6652471, at *1 (D. Mass. Nov. 4, 2016) (Mastroianni, J.); Edward Davis

v. Orlando Wilshire Investments Ltd., et al., No. 5:15-cv-01738-MWF-KK, slip op. at 10 [ECF

#17] (C.D. Cal. Nov. 2, 2015) (Fitzgerald, J.) (denying motion to dismiss in a website

accessibility case) (“the Court concludes that the Complaint sufficiently alleges that the

inaccessibility of the Website impedes the full and equal enjoyment of the Hotel.”); Nat’l Fed’n

of the Blind v. Scribd, Inc., 98 F. Supp.3d 565, 576 (D. Vt. 2015) (denying a motion to dismiss

an ADA claim against a commercial website operator); James Patrick Brown v. BPS Direct,

LLC, et al., Case No. LACV 14-04622 JAK (JEMx) slip op. at 4-7 [ECF #30] (C.D. Cal. Oct. 6,

2014) (Krondstadt, J.) (denying the defendant’s motion to dismiss while relying on the Target
decision as “persuasive”, and holding “the Complaint does allege that Bass Pro Shops is a chain

of brick-and-mortar stores and that BassPro.com is a website providing information about Bass

Pro Shops products, offers, and locations…. [and that] a nexus could be established here through

discovery.”); Penney v. Kohl’s Dep’t Stores, Inc., et al., No. 8:14-cv-01100-CJC-DFM [ECF

#12] slip op. at 3 (C.D. Cal. Sept. 23, 2014) (Carney, J.) (denying a motion to dismiss and

stating, “Thus, the Complaint states plausible facts that establish the requisite nexus between the

challenged service and the place of public accommodation.”); National Ass’n of the Deaf v.

Netflix, Inc., 869 F. Supp. 2d 196, 200 (D. Mass. 2012) (excluding web-based services would

“run afoul of the purposes of the ADA and would severely frustrate Congress’s intent that

individuals with disabilities fully enjoy the goods, services, privileges, and advantages available

indiscriminately to other members of the general public”); id. at 200-01 (“[T]he legislative

history of the ADA makes clear that Congress intended the ADA to adapt to changes in

technology.”) (quoting H.R. Rep. 101-485(II), at 108 (1990)) (“[T]he Committee intends that the

types of accommodation and services provided to individuals with disabilities, under all of the

titles of this bill, should keep pace with the rapidly changing technology of the times.”); Shields

v. Walt Disney Parks and Resorts US, Inc., 279 F.R.D. 529, 559 (C.D. Cal. 2011) (rejecting as

“unpersuasive” Disney’s argument that “there is no accepted accessibility standard” and the

argument that the DOJ has yet to determine what standards to apply to websites and stating, “The

lack of a widely accepted standard for website accessibility does not preclude injunctive relief

that would improve access to Defendants’ websites by the visually impaired.”); Nat’l Federation

of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006) (“To limit the ADA to

discrimination in the provision of services occurring on the premises of a public accommodation

would contradict the plain language of the statute.”); id. at 953-54 (“consistent with the plain
language of the statute, no court has held that under the nexus theory a plaintiff has a cognizable

claim only if the challenged service prevents physical access to a public accommodation.

Further, it is clear that the purpose of the statute is broader than mere physical access—seeking

to bar actions or omissions which impair a disabled person’s “full enjoyment” of services or

goods of a covered accommodation. 42 U.S.C. § 12182(a). Indeed, the statute expressly states

that the denial of equal “participation” or the provision of “separate benefit[s]” are actionable

under Title III. See 42 U.S.C. § 12182(b)(1)(A).”); cf. Hindel v. Husted, No. 2017 WL 432839, at

*7 (S.D. Ohio Feb. 1, 2017) (granting a permanent injunction against the Ohio Secretary of State

based on the accessibility of the state’s website under Title II of the ADA and requiring

accessibility).

        26.       Commercial websites that are not accessible for blind and visually-impaired

individuals using screen-readers and keyboards only, violate this basic mandate of the ADA. See

National Federation of the Blind v. Target Corp., 452 F. Supp. 2d 946 (N.D. Cal. 2006).

        27.       The Department of Justice (the “DOJ”) has consistently stated its view that the

ADA's accessibility requirements apply to websites belonging to private companies. See, e.g.,

Applicability of the Americans with Disabilities Act (ADA) to Private Internet Sites: Hearing

before the House Subcommittee on the Constitution of the House Committee on the Judiciary,

106th Cong., 2d Sess. 65-010 (2000) ("It is the opinion of the Department of Justice currently

that the accessibility requirements of the Americans with Disabilities Act already apply to

private Internet Web sites and services."); 75 Fed. Reg. 43460-01 (July 6, 2010) ("The

Department believes that title III reaches the Web sites of entities that provide goods or services

that fall within the 12 categories of 'public accommodations,' as defined by the statute and

regulations."). Thus, Defendant is on notice that the ADA’s general mandate applies to website
accessibility. See Fortyune v. City of Lomita, 766 F.3d 1098, 1102 (9th Cir. 2014); Reich v.

Mont. Sulphur & Chem. Co., 32 F.3d 440, 444–45 (9th Cir. 1994).

                   DEFENDANT’S FAILURE TO MAKE ITS WEBSITE
                 ACCESSIBLE AND PLAINTIFF’S ATTEMPTS TO ACCESS

        28.      Defendant offers the commercial website, Dickblick.com to the public.

        29.      The website offers features which should allow all consumers to access the goods

and services which Defendant offers.

        30.      The goods and services offered by Defendant’s website include, but are not

limited to the following: view product descriptions and sale information, special offers, locate a

preferred store, register, sign in, shop, and many other benefits related to Defendant's goods and

services.

        31.      Based on information and belief, it is Defendant's policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant’s website, and to

therefore specifically deny the goods and services that are offered therein and available at its

retail locations.

        32.      Due to Defendant's failure and refusal to remove access barriers to its website,

Plaintiff and visually-impaired persons have been and are still being denied equal access to the

numerous goods, services, and benefits offered to the public through Dickblick.com.

        33.      Plaintiff cannot use a computer without the assistance of screen-reading software.

        34.      However, Plaintiff is a proficient user of the JAWS screen-reader and uses it to

access the internet.

        35.      Plaintiff has visited Dickblick.com on several separate occasions using the JAWS

screen-reader.

        36.      Plaintiff first visited the website in October of 2017 with the intention of shopping
for holiday products. Plaintiff found unlabeled buttons and links prevented her from navigating

the website. Plaintiff also found at least one cursor trap that prevented her from navigating the

website. Plaintiff encountered multiple pages that contained insufficient navigational headings,

requiring Plaintiff to expend substantial amount of time to access information. Because of the

confusing layout of the website, Plaintiff had significant difficulty finding specific products or

types of products she desired to purchase. Additionally, Plaintiff was unable to make a purchase

because of an inaccessible checkout system.

       37.     Due to the widespread access barriers Plaintiff encountered on Defendant’s

website, Plaintiff has been deterred, on a regular basis, from accessing Defendant’s website and

this has prevented her from full and equal access of Defendant’s goods and services.

       38.     Similarly, the access barriers Plaintiff encountered on Defendant’s website have

deterred Plaintiff from shopping on Dickblick.com.

       39.     On more than one occasion in 2017 Plaintiff attempted to do business with

Defendant by using Dickblick.com and Plaintiff encountered barriers to access on the website.

       40.     Despite past and recent attempts to do business with Defendant by visiting its

website, the numerous access barriers contained on the website encountered by Plaintiff, have

denied Plaintiff full and equal access.

       41.     Plaintiff, as a result of the barriers on Defendant’s website continues to be

deterred on a regular basis from accessing Defendant’s website.

       42.     Due to the inaccessibility of Dickblick.com, blind and visually-impaired

consumers, such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the

facilities, goods, and services Defendant offers to the public on its website.

       43.     The access barriers Plaintiff encountered on Defendant’s website have caused a
denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a

regular basis from accessing Defendant’s website.

       44.        If Dickblick.com was equally accessible to all, Plaintiff could independently

navigate Defendant’s website and complete a transaction as sighted individuals do.

       45.        Having made many attempts to use Defendant’s website, Plaintiff has actual

knowledge of the access barriers that make these privileges, goods and services inaccessible and

independently unusable by blind and visually-impaired people.

       46.        Because maintaining and providing a website that is fully and equally accessible

to all consumers would provide Plaintiff and other visually-impaired consumers with full and

equal access to Dickblick.com, Plaintiff alleges that Defendant has engaged in acts of intentional

discrimination, including but not limited to the following policies or practices:

             a.    Construction and maintenance of a website that is inaccessible to visually-

                   impaired individuals, including Plaintiff;

             b.    Failure to construct and maintain a website that is sufficiently intuitive so as to

                   be equally accessible to visually-impaired individuals, including Plaintiff; and,

             c.    Failure to take actions to correct these access barriers in the face of substantial

                   harm and discrimination to blind and visually-impaired consumers, such as

                   Plaintiff, as a member of a protected class.

       47.        Defendant therefore uses standards, criteria or methods of administration that

have the effect of discriminating or perpetuating the discrimination of others, as alleged herein.

       48.        The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks

in this action. In relevant part, the ADA requires:

       “In the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities….Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy. . .”
       (42 U.S.C. § 12188(a)(2).)

       49.     Because Defendant’s website is not equally accessible, and because Defendant

lacks a corporate policy that is reasonably calculated to cause its website to become and remain

accessible, Plaintiff invokes the provisions of 42 U.S.C. § 12188(a)(2), and seeks a permanent

injunction requiring Defendant to retain a qualified consultant acceptable to Plaintiff (“Agreed

Upon Consultant”) to comply with the ADA and make the website accessible. To do so,

Defendant must utilize input from the Agreed Upon Consultant in order for Defendant to modify

the website's functionality so as to provide effective communication about the goods, services

and/or privileges offered by the website to screen-reader users, instead of only providing such

functionality to sighted persons.

       50.     Plaintiff seeks that this permanent injunction require Defendant to cooperate with

the Agreed Upon Consultant to:

                   a. Train Defendant’s employees and agents who develop the Dickblick.com

                       website on accessibility and compliance with the ADA using criteria

                       which will provide effective communication to persons who blind and use

                       screen-readers;

                   b. Regularly check the accessibility of Defendant’s website to maintain

                       accessibility as required by the ADA using criteria which will provide

                       effective communication to persons who blind and use screen-readers;

                   c. Regularly test end-user accessibility of the websites by screen-reader users

                       to ensure that Defendant’s website is accessible to blind and visually-

                       impaired individuals who would access them with screen-reading
                       technology and prove effective communication; and,

                   d. Develop an accessibility policy that is clearly disclosed on its website,

                       with contact information for users to report accessibility-related problems

                       and be provided with meaningful resolution after Defendant has

                       investigated and identified the accessibility-related problem.

       51.     If Dickblick.com was accessible to screen-reader users, Plaintiff and similarly

situated blind and visually-impaired people could independently access Defendant's products and

services.

       52.     Although Defendant may currently have centralized policies regarding the

maintenance and operation of its website, Defendant lacks a plan and policy reasonably

calculated to make its website fully and equally accessible to, and independently usable by, blind

and other visually-impaired consumers.

       53.     Without injunctive relief, Plaintiff and other visually-impaired consumers will

continue to be unable to independently use the Defendant's website in violation of their rights.

                                            COUNT I

             [VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT]

       54.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged above and

each and every other paragraph in this Complaint necessary or helpful to state this cause of

action as though fully set forth herein.

       55.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       “No individual shall be discriminated against on the basis of disability in the full and
       equal enjoyment of the goods, services, facilities, privileges, advantages, or
       accommodations of any place of public accommodation by any person who owns, leases
       (or leases to), or operates a place of public accommodation.”
(42 U.S.C. § 12182(a).)

       56.     The ADA requires that the place of public accommodation not discriminate in any

way in which it interacts with the public, whether by selling products at a physical location or

over a virtual location on the Internet.1

       57.     Defendant's website, Dickblick.com is therefore a public accommodation within

the definition of Title III of the ADA, 42 U.S.C. § 12181.

       58.     Dickblick.com is a service, privilege, or advantage of Defendant.

       59.     Dickblick.com is a service that is integrated with Defendant's products and

services.

       60.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. (42 U.S.C. §

12182(b)(1)(A)(i).)

       61.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. (42 U.S.C. § 12182(b)(1)(A)(ii).)

       62.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:



1
 Chief Judge Richard Posner of the Seventh Circuit Court of Appeals stated in dicta that the core
meaning of the ADA’s definition of discrimination is that the owner or operator of a facility,
“whether in physical space or in electronic space” that is open to the public, cannot exclude
disabled persons from entering the facility and using it in the same manner as do non-disabled
persons. (Doe v. Mutual of Omaha Ins. Co., 179 F.3d 557, 559 (7th Cir. 1999) (citing Carparts
Distrib. Ctr., Inc. v. Automotive Wholesaler’s Assoc. of New England, 37 F.3d 12, 19 (1st Cir.
1994)).
       “[A] failure to make reasonable modifications in policies, practices, or procedures, when
       such modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages or accommodations; and a failure to
       take such steps as may be necessary to ensure that no individual with a disability is
       excluded, denied services, segregated or otherwise treated differently than other
       individuals because of the absence of auxiliary aids and services, unless the entity can
       demonstrate that taking such steps would fundamentally alter the nature of the good,
       service, facility, privilege, advantage, or accommodation being offered or would result in
       an undue burden.”

       (42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).)

       63.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder.

       64.     Plaintiff, who is a member of a protected class of persons under the ADA, has a

physical disability that substantially limits the major life activity of sight within the meaning of

42 U.S.C. §§ 12102(1)(A)-(2)(A).

       65.     Furthermore, Plaintiff has been denied full and equal access to Dickblick.com, has

not been provided services which are provided to other patrons who are not disabled, and has

been provided services that are inferior to the services provided to non-disabled persons.

       66.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       67.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff, requests relief as set forth below.

       WHEREFORE, Plaintiff prays pray for judgment in her favor and against Defendant, as

follows:

               1.      A Declaratory Judgment that, at the commencement of this action,

       Defendant was in violation of the specific requirements of Title III of the ADA 42 U.S.C.
       § 12181 et seq., and the relevant implementing regulations of the ADA, for Defendant’s

       failure to take action that was reasonably calculated to ensure that its website was fully

       and equally accessible to, and independently usable by, blind and visually-impaired

       individuals;

               2.      A preliminary and permanent injunction enjoining Defendant from further

       violations of the ADA, 42 U.S.C. § 12181 et seq., with respect to its website,

       Dickblick.com;

               3.      A preliminary and permanent injunction requiring Defendant to take the

       steps necessary to make Dickblick.com readily accessible to and usable by blind and

       visually-impaired individuals;

               4.      For attorneys' fees and expenses pursuant to all applicable laws including,

       without limitation, pursuant to 42 U.S.C. § 12188(a)(1);

               5.      For compensatory damages including, but not limited to, mental anguish,

       loss of dignity, and any other intangible injuries suffered by the Plaintiff as a result of

       Defendant’s discrimination;

               6.      For prejudgment interest to the extent permitted by law;

               7.      For costs of suit; and

               8.      For such other and further relief as this Court deems just and proper.

                                              COUNT II

                         [VIOLATIONS OF THE UNRUH CIVIL
                    RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 et seq.]

       68.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged above and

each and every other paragraph in this Complaint necessary or helpful to state this second cause

of action as though fully set forth herein.
       69.     California Civil Code § 51 et seq. guarantees equal access for people with

disabilities to the accommodations, advantages, facilities, privileges, and services of all business

establishments of any kind whatsoever. Defendant is systematically violating the UCRA, Civil

Code § 51 et seq.

       70.     Defendant’s website is a "business establishments" within the meaning of the

Civil Code § 51 et seq. Defendant generates millions of dollars in revenue from the sale of goods

through its Dickblick.com website. Defendant’s website is a service provided by Defendant that

is inaccessible to patrons who are blind or visually-impaired like Plaintiff. This inaccessibility

denies blind and visually-impaired patrons full and equal access to the facilities, goods, and

services that Defendant makes available to the non-disabled public. Defendant is violating the

UCRA, Civil Code § 51 et seq., by denying visually-impaired customers the goods and services

provided on its website, Dickblick.com. These violations are ongoing.

       71.     Defendant’s actions constitute intentional discrimination against Plaintiff on the

basis of a disability, in violation of the UCRA, Civil Code § 51 et seq., because Defendant has

constructed a website that is inaccessible to Plaintiff, Defendant maintains the website in an

inaccessible format, and Defendant has failed to take actions to correct these barriers.

       72.     Defendant is also violating the UCRA, Civil Code § 51 et seq. because the

conduct alleged herein violates various provisions of the ADA, 42 U.S.C. § 12101 et seq., as set

forth above. Section 51(f) of the Civil Code provides that a violation of the right of any

individual under the ADA also constitutes a violation of the UCRA.

       73.     The actions of Defendant violate UCRA, Civil Code § 51 et seq., and Plaintiff is

therefore entitled to injunctive relief remedying the discrimination.

       74.     Plaintiff is entitled to statutory minimum damages pursuant to Civil Code § 52 for
each and every offense.

       75.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       WHEREFORE, Plaintiff prays pray for judgment in her favor and against Defendant, as

follows:

              1.      A preliminary and permanent injunction enjoining Defendant from

       violating the UCRA, Civil Code § 51 et seq, with respect to its website;

              2.      A preliminary and permanent injunction requiring Defendant to take the

       steps necessary to make its website readily accessible to and usable by blind and visually-

       impaired individuals;

              3.      An award of statutory minimum damages of $4,000 per violation pursuant

       to § 52(a) of the California Civil Code;

              4.      For attorneys' fees and expenses pursuant to all applicable laws including,

       without limitation, pursuant to California Civil Code § 52(a);

              5.      For prejudgment interest to the extent permitted by law;

              6.      For costs of suit; and

              7.      For such other and further relief as this Court deems just and proper.

                                      JURY DEMAND

       Plaintiff hereby demands trial by jury.

Dated: December 29, 2017                       Respectfully submitted,
                                               /s/ Rusty A. Payton
                                               Rusty A. Payton
                                               Marc E. Dann
                                               DannLaw
                                               20 N. Clark St., Suite 3300
                                               Chicago, Illinois 60602
                                               (312) 702-1000
                                               (312) 702-1000 (fax)
                                               payton@dannlaw.com
                                               mdann@dannlaw.com
                                               Counsel of Record for Plaintiff
